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________________________________________________________________________

                      IN THE UNITED STATES DISTRICT COURT

                 DISTRICT OF UTAH, CENTRAL DIVISION
________________________________________________________________________

UNITED STATES OF AMERICA,                 :        Case No. 2:17-cr-00208-CW

                      Plaintiff,          :
                                                   UNITED STATES=
       v.                                 :        SECOND SUPPLEMENTAL
                                                   WITNESS LIST
TERRY CHARLES DIEHL,                      :

                      Defendant.          :        Judge Clark Waddoups

________________________________________________________________________

       The United States of America, by and through undersigned counsel, submits the

following list of additional potential witnesses in support of its case-in-chief in the above-

captioned action. The United States also reserves its right to further supplement its

witness list as trial preparation continues.

            1. Novak, Abigail

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      DATED this 27th day of October, 2017.

                                          JOHN W. HUBER
                                          United States Attorney

                                          /s/ Mark Y. Hirata
                                          _______________________________
                                          STEWART M. YOUNG
                                          MARK Y. HIRATA
                                          CY H. CASTLE
                                          Assistant United States Attorneys



                                  Certificate of Service

      I certify that on the 27th day of October, 2017, I caused to be sent, via email

transmission, a copy of the foregoing UNITED STATES= SECOND SUPPLEMENTAL

WITNESS LIST to the following:

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                                                   /s/ Cody Alleman




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